76 F.3d 371
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark CONVERTINO, Petitioner-Appellant,v.J.M. JABE, Warden, Greenville Correctional Center;  James L.Gilmore, Attorney General of the State ofVirginia, Respondents-Appellees.
    No. 95-7883.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  January 18, 1996.Decided:  February 8, 1996.
    
      Mark Convertino, Appellant Pro Se.  Thomas Cauthorne Daniel, Assistant Attorney General, Richmond, VA, for Appellees.
      Before HAMILTON and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion, and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Convertino v. Jabe, No. CA-95-210-3 (E.D.Va. Oct. 20, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    